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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

     v.                                              Case No. 22-cr-259-TNM

 BERNARD JOSEPH SIRR,

      Defendant.

                    GOVERNMENT’S NOTICE OF FILING OF EXHIBITS
                       PURUSANT TO LOCAL CRIMINAL RULE 49

          The United States of America, through the undersigned, hereby gives this notice pursuant

to Local Criminal Rule 49, of the exhibits that were provided to the Court and defense counsel on

May 16, 2023, via USAfx, in relation to Government’s Sentencing Memorandum. Because the

exhibits are video clips, they are not in a format that readily permits electronic filing on CM/ECF.

          The list of the exhibits and a summary of each is attached as Exhibit A to this Notice.

          The United States takes the position that the entered exhibits should be promptly released

to the public.

                                                Respectfully submitted,

                                                MATTHEW M. GRAVES
                                                UNITED STATES ATTORNEY



                                        BY:
                                                Stephen J. Rancourt
                                                Assistant United States Attorney, Detailee
                                                Texas Bar No, 24079181
                                                601 D Street, N.W.
                                                Washington, D.C. 20530
                                                (806) 472-7398
                                                stephen.rancourt@usdoj.gov
